Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 1 of 11 PageID #: 23

                                                                                                19PE-CC00278

              IN THE CIRCUIT COURT OF PEMISCOT COUNTY, MISSOURI
                                  DIVISION I   •
                                                   CerlIficale of True Copy

                                                            I, Kelly Mane.,clerk of the Circuit Court and M
                                                            and for Pemiscot County,certify that the forgoing
                                                            is a true, accurate and complete copy of the
 BOBBY DAVIS,                                               original in the cause therein named,as the same
                                                            appears on record and on file in this office.

                                                            WITNESS my hand and the seal affixed hereto on
                                                            Thursday,Septeinher 26. 2019.

                                                                                    jtat, 1‘.0-4,-A4.1
                                                                                  `fl
                       Plaintiff,                           Clerk
                                                                          Clerk of the Circuit Court
                                                            Pert /s/ RANA COOK,Deputy Clerk


 vs.                                                    Case No.

 JOHN ROBERT SMITH and
 USA TRUCK,INC.

                       Defendant.



        COMES NOW the Plaintiff, Bobby Davis, by and through counsel, and for his cause

 of action against Defendant John Robert Smith states as follows:

                                          I.PARTIES

        I. Bobby Davis is an adult resident of Portageville, New Madrid County, Missouri.

        2. Defendant John Robert Smith is an adult resident of Lebanon, Boone County,

 Indiana, and may be served with process of this Court by serving copies ofthe Summons and

 Petition on said Defendant at the following address:

                                      Mr. John Robert Smith
                                     3887 North US Hwy 52
                                     Lebanon, Indiana 46052

        3. Defendant USA Truck, Inc. is a foreign corporation organized and existing under

 the laws of the State of Arkansas with its principal place of business in Van Buren, Arkansas.

 The Defendant may be served with process of this Court by serving copies ofthe Summons

 and Complaint on said Defendant at the following address:

                                         USA Truck, Inc.
                                    3200 Industrial Park Road
                                    Van Buren, Arkansas 72956




                                                                                                                EXHIBIT G
Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 2 of 11 PageID #: 24




         4. This Court has jurisdiction over the parties and the Plaintiff's cause of action, and

 venue is proper in the Circuit Court of Pemiscot County, Missouri.

                                             II. FACTS

         5. On or about January 12, 2018, at approximately 9:15 a.m., Plaintiff Bobby Davis

 operated a 2006 Ford Explorer southbound on Interstate 55 in Pemiscot County, Missouri.

 Defendant John Robert Smith operated a 2016 International Harvester Conventional in a

 southbound direction on Interstate 55 in Pemiscot County, Missouri.

        6. At said time, Defendant John Robert Smith operated a 2016 International Harvester

 conventional tractor and trailer operated under the authority by USA Truck, Inc., U.S.

 Department of Transportation Motor Carrier No. MC-161412.

         7. At said time and place, Defendant John Robert Smith failed to bring his tractor-

 trailer to a stop, violently striking the rear ofthe stationary vehicle driven by Plaintiff Davis,

 and the force ofthe impact forced Plaintiff's vehicle off the right side of the interstate.

        9. At said time and place, and at all times relevant hereto, Defendant John Robert

 Smith was an employee, agent and/or servant of Defendant USA Truck, Inc. acting in the

 ordinary course and scope of his employment and agency.

                          III. CAUSE OF ACTION — NEGLIGENCE

         10. The actions of Defendant John Robert Smith, properly imputed to Defendant USA

 Truck, Inc., constitute negligence, said negligence including but not limited to the following:

         a. Defendant Smith operated his vehicle at an excessive speed;

         b. Defendant Smith failed to keep a careful lookout;


                                                  2
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         c. Defendant Smith failed to maintain proper control of his vehicle for the

 circumstances then and there existing;

         d. Defendant Smith failed to yield to stationary traffic when he had adequate warning

 and notice of the stopped traffic;

         e. Defendant Smith permitted his tractor-trailer to collide with the rear ofthe vehicle in

 which Plaintiff was the driver.

        f. Defendant Smith failed to use ordinary care in the operation of his vehicle under the

 circumstances then and there existing;

         g. Defendant Smith knew, or by the exercise of the highest degree of care should have

 known, that a collision was likely, and failed to take evasive actions in such time as to avoid

 the collision, but failed to do so;

         h. Defendant Smith failed to exercise the requisite degree of care and precaution

 necessary to avoid collision with the vehicle in front of him; and

         i. Defendant Smith failed to yield the right-of-way to the stationary vehicles.

         I I. As a direct and proximate result of the negligence of Defendant John Robert

 Smith properly imputed to Defendant USA Truck, Inc., Plaintiff Bobby Davis sustained

 injuries to his neck and back, and to his body as a whole, and has suffered, and will continue

 to suffer, permanent and debilitating injuries, pain and suffering, economic damages in the

 form of lost income, and the loss of enjoyment of his everyday living.

         WHEREFORE,PREMISES CONSIDERED,Plaintiff Bobby Davis prays that this

 Court enter judgment against Defendant John Robert Smith and Defendant USA Truck, Inc.,

 jointly and severally, for such damages as are fair and reasonable to compensate Plaintiff


                                                 3
Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 4 of 11 PageID #: 26




 Bobby Davis for his injuries and damages, together with all costs of court; and for such other

 and further relief as may be just and proper.



                                DEMAND FOR JURY TRIAL

        COME NOW the Plaintiff, Bobby Davis, and pursuant to Rule 69.01 ofthe Missouri

 Rules of Civil Procedure hereby demands a trial by jury of any and all issues so triable.



                                                              Respectfully submitted,

                                                             LAW OFFICE OF
                                                             WENDELL L. HOSKINS II
                                                             404 Ward Avenue
                                                             Post Office Box 1115
                                                             Caruthersville, Missouri 63830
                                                             Phone: 573-333-2600
                                                             Fax: 573-333-2041
                                                             Wendell@WendellHoskins.com


                                                             /s/ Wendell L. Hoskins II
                                                             WENDELL L. HOSKINS II
                                                             Missouri Bar No. 44671
                                                             Attorney for Plaintiff




                                                 4
          Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 5 of 11 PageID #: 27



               IN THE 34TH JUDICIAL CIRCUIT, PEMISCOT COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 19PE-CC00278
 WILLIAM EDWARD REEVES
 Plaintiff/Petitioner:                                    Plaintiff's/Petitioner's Attorney/Address:
 BOBBY DAVIS                                              WENDELL LOUIS HOSKINS II
                                                          404 WARD
                                                          PO BOX 1115
                                                      vs. CARUTHERSVILLE, MO 63830
 Defendant/Respondent:                                    Court Address:
 JOHN R SMITH & USA TRUCK, INC.                           Pemiscot Court House
 Nature of Suit:                                          610 Ward Avenue
 CC Pers Injury-Vehicular                                 P.O. Box 34
                                                          CARUTHERSVILLE, MO 63830                                              (Date File Stamp)
                          Summons for Personal Service Outside the State of Missouri
                                                          (Except Attach ment Action)
  The State of Missouri to: JOHN R SMITH
                            Alias:
  3887 NORTH US HWY 52
  LEBANON, IN 46052
     COURT SEAL OF            You are summoned to appear before this court and to file your pleading to the petition, copy of
                              which is attached, and to serve a copy of your pleading upon the attorney for the
                              plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                              you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                              taken against you for the relief demanded in this action.
                                       08/27/2019                                                    ,at,        04%-1,4-1?-2
                                                                                                         I
    PEMISCOT COUNTY                                Date                                                       Clerk
                              Further Information:
                                               Officer's or Server's Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is                                            of                               County,                     (state).
     3. I have served the above summons by: (check one)
           CI delivering a copy of the summons and a copy of the petition to the defendant/respondent.
           ❑ leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with                                             , a person of the defendant's/respondent's family
                over the age of 15 years who permanently resides with the defendant/respondent.
           El (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                     (name)                                                          (title).
          El   other:
     Served at                                                                                                                        (address)
     in                                      County,                     (state), on                         (date) at                   (time).


                   Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                             Subscribed and sworn to before me this                    (day)                       (month)          (year).
                                I am:(check one) ci the clerk of the court of which affiant is an officer.
                                                     ❑ the judge of the court of which affiant is an officer.
                                                     ❑ authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                        summons.(use for out-of-state officer)
                                                     Cj authorized to administer oaths. (use for court-appointed server)

                                                                                                   Signature and Title
    Service Fees
    Summons      $
    Non Est
    M ileage                                                       miles @ $           per mile)
    Total
                                                                       ficer making return on service of su mmons.
                            See the following page for d irections to of

OSCA (07-18) SM60(SMOS) For Court Use Only: Document ID# 19-SMOS-60              1 of 2 (19PE-CC00278)                Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                              506.500, 506.510 RSMo
        Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 6 of 11 PageID #: 28


                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant's/respondent's refusal to receive the same.

     Service shall be made:(1) On Individual. On an individual, including an infant or incompetent person not having a
      legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
      leaving a copy of the summons and motion at the individual's dwelling house or usual place of abode with some
      person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
      process;(2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
      Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
      business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
      registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     "territory" for the word "state."

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant's authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




                                           Certificate of True Copy
                                                                                           COtJRT SLAV OIa
                            I, Kelly Mailers, clerk of the Circuit Court and in
                            and for Pemiscot County, certify that the forgoing
                            is a true, accurate and complete copy of the
                            original in the cause therein named, as the same
                            appears on record and on file in this office.

                            WITNESS my hand and the seal affixed hereto on
                            Thursday, September 26, 2019.

                                               L/4dL
                            Clerk                   i                                               SC(_)
                                                                                                        ..
                                          Clerk of the Circuit Court                            I         T ['i7I I N -Y
                            Per: Is/ RANA COOK,Deputy Clerk

OSCA (07-18) SM60(SMOS) For Court Use Only: Document ID# 19-SMOS-60        2 of 2 (19PE-CC00278)         Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                 506.500, 506.510 RSMo
          Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 7 of 11 PageID #: 29



              IN THE 34TH JUDICIAL CIRCUIT, PEMISCOT COUNTY, MISSOURI

 Judge or Division:                                           Case Number: 19PE-CC00278
 WILLIAM EDWARD REEVES
 Plaintiff/Petitioner:                                    Plaintiff's/Petitioner's Attorney/Address:
 BOBBY DAVIS                                              WENDELL LOUIS HOSKINS II
                                                          404 WARD
                                                          PO BOX 1115
                                                      vs. CARUTHERSVILLE, MO 63830
 Defendant/Respondent:                                    Court Address:
 JOHN R SMITH & USA TRUCK, INC                            Pemiscot Court House
 Nature of Suit:                                          610 Ward Avenue
 CC Pers Injury-Vehicular                                 P.O. Box 34
                                                          CARUTHERSVILLE, MO 63830                                           (Date File Stamp)
                          Summons for Personal Service Outside the State of Missouri
                                                          (Exceyt Attach ment Action)
  The State of Missouri to:USA TRUCK, INC.
                          Alias:
  3200 INDUSTRIAL PARK ROAD
  VAN BUREN, AR 72956
      COURT SEAL OF           You are summoned to appear before this court and to file your pleading to the petition, copy of
                              which is attached, and to serve a copy of your pleading upon the attorney for the
                              plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                              you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                              taken against you for the relief demanded in this action.
                                         08/27/2019                                             V       el II t
    PEMISCOT COUNTY                                Date                                                      Clerk
                              Further Information:
                                               Officer's or Server's Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is                                            of                              County,                     (state).
     3. I have served the above summons by: (check one)
           Ej] delivering a copy of the summons and a copy of the petition to the defendant/respondent.
           D leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with                                              a person of the defendant's/respondent's family
                over the age of 15 years who permanently resides with the defendant/respondent.
           El (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                     (name)                                                         (title).
          [I] other:
     Served at                                                                                                                      (address)
     in                                      County,                     (state), on                       (date) at                   (time).


                   Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                             Subscribed and sworn to before me this                    (day)                      (month)           (year).
                                I am:(check one) ❑ the clerk of the court of which affiant is an officer.
                                                     D the judge of the court of which affiant is an officer.
                                                     ❑ authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                        summons.(use for out-of-state officer)
                                                     El authorized to administer oaths. (use for court-appointed server)

                                                                                                    Signature and Title
    Service Fees
    Summons      $
    Non Est
    Mileage                                                        miles @ $           per mile)
    Total
                                                                       ficer making return on service of sum mons.
                            See the fol lowing page for directions to of

OSCA (07-18) SM60(SMOS) For Court Use Only: Document ID# 19-SMOS-61              1 of 2 (19PE-CC00278)               Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
         Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 8 of 11 PageID #: 30


                             Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant's/respondent's refusal to receive the same.

     Service shall be made:(1) On Individual. On an individual, including an infant or incompetent person not having a
      legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
      leaving a copy of the summons and motion at the individual's dwelling house or usual place of abode with some
      person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
      a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
      process;(2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
      Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
      the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
      business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
      registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     "territory" for the word "state."

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant's authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




                          Certificate of True Copy

          I, Kelly Maners, clerk of the Circuit Court and in
          and for Pemiscot County, certify that the forgoing
          is a true, accurate and complete copy of the
          original in the cause therein named, as the same
          appears on record and on file in this office.

          WITNESS my hand and the seal affixed hereto on
          Thursday, September 26, 2019.

                             V4tki
          Clerk
                        Clerk of the Circuit Court
          Per: /s/ RANA COOK,Deputy Clerk

                                                                              13 r NA I C Orr (70t .1 Ninti
OSCA (07-18) SM60(SMOS) For Court Use Only: Document ID# 19-SMOS-61       2 of 2 (19PE-CC00278)  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                         506.500, 506.510 RSMo
            Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 9 of 11 PageID #: 31

                                                                                                                                                             66111


                                                        Boone County Sheriffs Office
                                                              Court Paper Report
                                                   1905 Indianapolis Avenue Lebanon, IN 46052
                                                        Phone:(765) 482 - 1412 Fax:(765)483 - 3370
ID           Type                    Sub Type               Issuing State             Issuing County                Agency                         Agency Only
66111        Summons                 Civil                  Missouri                  .?&M V-I 4 I                  Boone County Sheriffs Office No
Plaintiff                            Filed Date             Received Date                 Service Expiration Date   Received From Agency
BOBBY DAVIS                          08/27/2019             09/09/2019

                                                                 Reference Numbers
Ref. Type                                                                         Ref. Number
Court Case Number                                                                 19PE-CC00278
   ,
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  ,;• "     ein ,.,
                                                                 POPPle To .                 ►rr .„. 1
Person Details                                                                                                      Status                  Role
SMITH         JOHN Sex: Unknown Race: Unknown DOB: ( Age )                                                          No Service - Subject Respondent
                                                                                                                    Not Located
Service Address
US-52 LEBANON, IN 46052
Is Billable  Attempts                        Billable Attempts              Mileage
Yes                  0                       0                              0
Mileage Fee                                  Misc Fee                       Service Fee                                        Total Fees
.00                                          .00                            .00                                                $0.00
Fee Comment:



                                                                                Log




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                                                                                                              -

                                                                     71169 61,4v                           NO-Hli,


                                                                            J7F                              Silvt1/\

                                Certificate of True Copy

                 1, Kelly Maners, clerk of the Circuit Court and in                                      RI SEA! ()I
                 and for Pemiscot County, certify that the forgoing
                 is a true, accurate and complete copy of the
                 original in the cause therein named, as the same
                 appears on record and on file in this office.

                 WITNESS my hand and the seal affixed hereto on
                 Thursday, September 26, 2019.


                 Clerk
                               Clerk of the Circuit Court
                 Per: /s/ RANA COOK, Deputy Clerk                                         l' 1     I is ( - CH-         I N'

Report Run On Tuesday, September 10, 2019 By C. Hanna                                                                                                   Page: 1 of 2
  Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 10 of 11 PageID #: 32



              IN THE 34TH JUDICIAL CIRCUIT, PEMISCOT COUNTY, MISSOURI .4
                                                                                                                          te461
 Judge or Division:                                          Case Number: 19PE-CC00278
 WILLIAM EDWARD REEVES                                                                                                   S
 Plaintiff/Petitioner:                                                                               DO
                                                            Plaintiff's/Petitioner's Attorney/Address:                    6)° _m9i20/9
                                                                                                                     Cc uivrys     pps ppice
 BOBBY DAVIS                                                WENDELL LOUIS HOSKINS II
                                                            404 WARD                                                  i
                                                                                                                        7:N/Rtsg;sijoipp
                                                            PO BOX 1115
                                                        vs. CARUTHERSVILLE, MO 63830
 Defendant/Respondent:                                      Court Address:
 JOHN R SMITH & USA TRUCK, INC.                             Pemiscot Court House
 Nature of Suit:                                            610 Ward Avenue
 CC Pers Injury-Vehicular                                   P.O. Box 34
                                                            CARUTHERSVILLE, MO 63830                                         (Date File Stamp)
                          Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
 The State of Missouri to: JOHN R SMITH
                           Alias:
 3887 NORTH US HWY 52
 LEBANON,IN 46052
     COURT SEAL OF            You are summoned to appear before this court and to file your pleading to the petition, copy of
                              which is attached, and to serve a copy of your pleading upon the attorney for the
                              plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                              you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                              taken against you for the relief demanded in this action. \_,/
                                      08/27/2019                                                        .6/ALLA")}
    PEMISCOT COUNTY                                  Date                                                    Clerk
                              Further Information:
                                               Officer's or Server's Affidavit of Service
     I certify that:
     1 . I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is                                            of                               County,                     (state).
     3. I have served the above summons by: (check one)
          0 delivering a copy of the summons and a copy of the petition to the defendant/respondent.
           O leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with                                               a person of the defendant's/respondent's family
                over the age of 15 years who permanently resides with the defendant/respondent.
           O (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                     (name)                                                          (title).
          O other:
     Served at                                                                                                                       (address)
     in                                       County,                     (state), on                      (date) at                    (time).


                   Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                             Subscribed and sworn to before me this                    (day)                       (month)          (year).
                                I am:(check one) 0 the clerk of the court of which affiant is an officer.
                                                     0 the judge of the court of which affiant is an officer.
                                                     ❑ authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                        summons.(use for out-of-state officer)
                                                     El authorized to administer oaths. (use for court-appointed server)

                                                                                                    Signature and Title
    Service Fees
    Summons      $
    Non Est
    Mileage                                                         miles @ $           per mile)
    Total
                            See the following page for directions to officer making return on service of summons.

OSCA (07-18) SM60(SMOS)For Court Use Only: Document ID# 19-SMOS-60               1 of 2 (19PE-CC00278)                Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                              506.500, 506.510 RSMo
  Case: 1:19-cv-00180-SNLJ Doc. #: 1-7 Filed: 10/10/19 Page: 11 of 11 PageID #: 33


                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant's/respondent's refusal to receive the same.

    Service shall be made:(1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual's dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
      process;(2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
      a copy of the summons and motion to the guardian personally;(3) On Corporation, Partnership or Other
      Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
      the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
      business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
      registered agent or to any other agent authorized by appointment or required by law to receive service of process;
    (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
    corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     "territory" for the word "state."

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant's authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60(SMOS) For Court Use Only. Document 1118 19-SMOS-60      2 of 2 (19PE-CC00278)         Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                506.500, 506.510 RSMo
